Case 23-01235-VFP         Doc 8    Filed 12/04/23 Entered 12/04/23 13:57:58         Desc Main
                                   Document      Page 1 of 2



James P. Chou, Esq.
Marshall O. Dworkin, Esq.
MORITT HOCK & HAMROFF LLP
1407 Broadway, Suite 3900
New York, NY 10018
Tel: 212-239-2000
Fax: 212-239-7277
jchou@moritthock.com
mdworkin@moritthock.com
Attorneys for Defendant
Mara Sirhal

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

 In Re:

 BED BATH & BEYOND INC., et al.,
                                                         Chapter 11
                               Debtor.
                                                         Case No. 23-13359 (VFP)
 BED BATH & BEYOND INC.
                                                         (Jointly Administered)
                               Plaintiff,
                                                         Adv. Proc. No. 23-01235 (VFP)
           v.
                                                          STIPULATION FOR EXTENSION
 MARA SIRHAL,                                                      OF TIME

                               Defendant.




          IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel, as follows:

          1.    The time for Plaintiff and Counterclaim-Defendant BED BATH & BEYOND

INC. to answer, move, or otherwise respond to Defendant/Counterclaimant MARA SIRHAL’s

Counterclaims [Dkt. No. 4] is hereby extended to and including December 19, 2023.

          2.    This stipulation may be executed in counterparts.
Case 23-01235-VFP      Doc 8    Filed 12/04/23 Entered 12/04/23 13:57:58        Desc Main
                                Document      Page 2 of 2




Dated: New York, New York
       December 4, 2023

MORITT HOCK & HAMROFF LLP                         AKERMAN LLP


By: /s/ Marshall O. Dworkin                       By: /s/ Michael I. Goldberg

 James P. Chou, Esq.
 Marshall O. Dworkin, Esq.                           Michael I. Goldberg, Esq.
 1407 Broadway, Suite 3900                           201 East Las Olas Blvd.
 New York, NY 10018                                  Fort Lauderdale, FL33301
 Telephone: (212) 239-2000                           Telephone: (954) 463-2700
 jchou@moritthock.com                                michael.goldberg@akerman.com

Attorneys for Defendant/Counterclaimant              Plan Administrator
Mara Sirhal




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